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      PLEASE CAREFULLY REVIEW THIS OBJECTION AND THE ATTACHMENTS
    HERETO TO DETERMINE WHETHER THIS OBJECTION AFFECTS YOUR CLAIM.

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           §
                                                                 § Chapter 11
CORINTHIAN COLLEGES, INC. 1                                      §
                                                                 § Case No. 15-10952 (JTD)
                                                                 §
         Debtor.                                                 §    Response Deadline: December 19, 2024 at 4:00 p.m. (ET)
                                                                 §    Hearing Date: January 28, 2025 at 1:00 p.m. (ET)
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                        NOTICE OF OMNIBUS OBJECTION AND HEARING

         PLEASE TAKE NOTICE that, on December 5, 2024, Craig R. Jalbert, the distribution trustee

(the “Distribution Trustee”) for the Corinthian Colleges Distribution Trust (the “Distribution

Trust”), in the above captioned chapter 11 case filed the Distribution Trustee’s Twelfth Omnibus

(Substantive) Objection to Certain Overstated Claims (the “Objection”) with the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). Your claim(s) may be

disallowed or modified as a result of the Objection. Therefore, you should read the attached

Objection carefully.

         PLEASE TAKE FURTHER NOTICE THAT YOUR RIGHTS MAY BE AFFECTED

BY THE OBJECTION AND BY ANY FURTHER CLAIM OBJECTION THAT MAY BE

FILED BY THE DISTRIBUTION TRUSTEE OR OTHERWISE. THE RELIEF SOUGHT

HEREIN IS WITHOUT PREJUDICE TO THE DISTRIBUTION TRUSTEE’S RIGHTS TO

PURSUE FURTHER OBJECTIONS AGAINST YOUR CLAIM(S) SUBJECT TO THE

OBJECTION IN ACCORDANCE WITH APPLICABLE LAW AND APPLICABLE ORDERS

OF THE BANKRUPTCY COURT.


1
     The debtor in this case, along with the last four digits of the debtor’s federal tax identification number, is: Corinthian
     Colleges, Inc. (7312).

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         PLEASE TAKE FURTHER NOTICE that if the holder of a claim that is the subject of the

Objection wishes to respond to the Objection, the holder must file a written response on or before

December 19, 2024 at 4:00 p.m. (prevailing Eastern Time) with the Office of the Clerk of the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801 and serve a copy on Richards, Layton & Finger, P.A., One Rodney

Square, 920 North King Street, Wilmington, Delaware 19801 (Attn: Amanda R. Steele

(steele@rlf.com),      Robert   C.   Maddox       (maddox@rlf.com),    and    Emily     R.   Mathews

(mathews@rlf.com)).

         PLEASE TAKE FURTHER NOTICE that responses to the Objection must contain, at

minimum, the following: (a) a caption setting forth the name of the Bankruptcy Court, the name of

the debtor, the case number, and the title of the Objection to which the response is directed; (b) the

name of the claimant, his/her/its claim number, and a description of the basis for the amount of the

claim; (c) the specific factual basis and supporting legal argument upon which the claimant will rely

in opposing this Objection; (d) any supporting documentation, to the extent it was not included with

the proof of claim previously filed with the clerk or claims agent, upon which the claimant will rely

to support the basis for and amounts asserted in the proof of claim; and (e) the name, address, email

address, telephone number, and fax number of the person(s) (which may be the claimant or the

claimant’s legal representative) with whom counsel for the Distribution Trustee should communicate

with respect to the claim or the Objection and who possesses authority to reconcile, settle, or

otherwise resolve the Objection to the disputed claim on behalf of the claimant.

         PLEASE TAKE FURTHER NOTICE that if no response to the Objection is timely filed and

received in accordance with the above procedures, an order may be entered sustaining the Objection

without further notice or a hearing. If a response is properly filed, served and received in accordance

with the above procedures and such response is not resolved, a hearing to consider such response and

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the Objection will be held before The Honorable John T. Dorsey, United States Bankruptcy Judge for

the District of Delaware, at the Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom No.

5, Wilmington, Delaware 19801 on January 28, 2025 at 1:00 p.m. (prevailing Eastern Time) (the

“Hearing”). Only a response made in writing and timely filed and received will be considered by the

Bankruptcy Court at the Hearing.

         IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

BANKRUPTCY COURT MAY SUSTAIN THE OBJECTION WITHOUT FURTHER

NOTICE OR HEARING.


 Dated: December 5, 2024                        Respectfully submitted,
        Wilmington, Delaware
                                                /s/ Emily R. Mathews
                                                Mark D. Collins (No. 2981)
                                                Michael J. Merchant (No. 3854)
                                                Amanda R. Steele (No. 5530)
                                                Robert C. Maddox (No. 5356)
                                                Emily R. Mathews (No. 6866)
                                                RICHARDS, LAYTON & FINGER, P.A.
                                                920 N. King Street
                                                Wilmington, Delaware 19801
                                                Telephone: 302-651-7700
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                                                       mathews@rlf.com

                                                Counsel for the Distribution Trustee




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